Case 1:05-cv-01155-.]DT-STA Document 12 Filed 08/15/05

UNITED STATES DISTRICT CoURT

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EASTERN DISTRICT oF LoUlsIANA

OFFICE oF THE CLERK
LoRRETTA G. WHYTE
CLERK

August 10, 2005
Robert Di Trolio, Clerk

United States District Court

Western District of Tennessee
111 S. Highland

Jackson, TN 38301

 

In Re: MDL 1657 Vioxx Products Liability Litigation L (3)

Dear Mr. Di Trolio:

 

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, I).C. It instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possib]e. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide
(504)589-7704.

Daner copies of the above documents instead of simnlv referring to v0ur website.
Your prompt attention in this matter is greatly appreciated
Should you have any questions regarding this request, please contact Dina Guilbeau at

 

 

Very truly yours,
Loretta G.U::E
By l
Deputy Clerk
Enclosures
cc: Judicial Panel on Multidistrict Litigation

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Your Case Nos. Case Title Our Case Nos.
l:OS-l 146 Earnestine L. Bills v. Merck & Co., Inc. 05-3630 L (3)
1- _ Linian ohDawsnn,_erala/i__rl\/_Ierck & CO., Inc. 05-3631 L f§)

 

1:6§-1155 Austin B. Franks, et al v. Merck & Co., Inc. 05-3632 L (3)\,

 

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CONDITIONAL TMNSFER ORDER (CTO-IQ)

On February 16, 2005, the Panel transferred 138 civil actions to the United States District Court for the
Eastem District of Louiisiana for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C.

Pursuant to Rule 7.4 of the Rules of Procedure ofthe Judicial Panel on Multidistrict Litigation, 199
F.R.D. 425, 435-36 (2001)‘, these actions are transferred under 28 U.S C § 1407 to the Eastern District

of Louisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp.Zd l'352 (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the Honorable Eldon E. Fallon.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Eastem District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerl-;
ofthe Panel within this fifteen (15) day period, the stay will be continued until furtheri order of the Panel.

'_' FOR THE PANEL: __

f Michaei J. Beck " `

Clerk of the Panel l

 

 

 

 

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SCHEDULE CTO-19- TAG-ALONG ACTIONS ‘
I)OCKE'I` NO.1657 ‘
IN RE VIOXX PRODUCTS LIABILITY LITIGATION*\

ST. DW, C.A. # CASE CAPTlON w

 

ALABAMA NORTHERN

t . 1 ., ., vacated 7:29/05 `\

ALN 2 05-1266 l ‘ Alvin nassau v. Mera< a co‘, inc.

AhN 2 05-876 t Joslyn Brown, etc. v. Mercl< & Co., inc.

ALN 7 05-996 l l t .Chamis await eic. v_ wieer a co., tnc_, et at

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AR_E 4 05-684 Jerry Russell Langley, et al. v. Merck & Co., l_nc.

ARKANSAS WESTERN
ARW l 05-1050 _ Deltha King v. Merck & Co., lnc,
CALIFORNIA CENTRAL
CAC 2 05-3722
CAC 2 05-3853
CAC 2 05-3354

Russ Whitrneyer v. Merck & Co., lnc. 1
lake E. Baker, et al. v. Merck & Co., lnc.
l Robert Schwartz v. Merck & Co., Inc¢
CAC 2 05-3974 Joe Obbema, et al. v. Merck & Co, Inc
CAC 2 05- 3975 Tony Ortega, et al. v. Merck& Co., Inc.
…M Vacated 7/29/05
CAC 2 05- 4037 John 'l`hayer, et al v Mercl< & Co inc
CAC 2 05-4038 Judith L. Oidhamv. Mercl< & Co., lnc
CAC 8 05-350 Jerry Kirby v. Merck & Co., Inc.

CALIFORNIA EASTERN
CAE 2 05~§027 Shaun Perl-tins, et al. v. Merck & Co., Inc.
CALIFORNIA NORTHER_N
CAN 3 05-2349 Kathy Edrnonds, et al. v. Merck &. Co., 4Inc., et al.
CAN 5 05-2026 l Pauline Ferrell v. Merck & Co., lnc., et al.

FLORIDAMIDDLE
FLM 2 05_276
FLM 3 05.530
FL__M 5 05-269
FLM 5 05-270
FLM 6»05-856

Geraldine Shedd, et al. v. Merck & Co., Inc., et al.
William P. Monahan, et al. v. Merck & Co., lnc.
Thomas M. M*t_:`Culla et al. v. Merck & Co ,Inc_

Scott S. Gardner, etal v Merck& Co., lnc.
Michael Iackson v. Merclc & Co., Inc.

FLM 8 05-1054 Susan M. Johnson v. Merck & Co‘, Inc.
FLM 8 05-!055 Mary lane White, et al. v. Merck & Co., lnc. \
FLM 8 05-1056 Finley F. Gable, ir., et ai. v. Mercl< & Co., Inc.

FLORIDA SOUTHERN l

FLS 0 05-60924 Margie Kay Marlow, et al. v. Merck & Co., lnc. _

FLS 0 05 -60925 Jerome E. Lord1 et al. v. Mcrc_k &. Co., Inc., et al.

FLS 9 05- 80495 [ Ronald A. Smith v Merck & Co., Inc.. et al.

FLS 9 05- 80508 Michelle Zichlin v. Mercl< & Co., inc 1 `
GEORGLA MTDDLE

GAM 1 05-71 Annie R. Kim'orel, etc. v. Mcrck & Co., Inc.

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CASE CAPTION

Ruseil Widener, etc. v. Merck & Co., Inc., et al.
Gwendolyn Woods, etc. v. Merck & Co., Inc., et al.
Betty Burnette, etc. v. Merck & Co., Inc‘

Malissia Chance v. Merck & Co., Inc.

Gladys Danford v. Merck & Co., Inc. New GAS C.A. # 5:05-46
Mae Hill v. Merck & Co., Inc.

Rayrnond Cross v. Mercl< & Co., Inc.

Constance Ruyle, et al. v. Merck & Co., Inc.
William Lind v. Mercl< & Co., Inc.

Mark Bentley, et al. v. Merck & Co., Inc.

Betty Sharkey v. Merck & Co., Inc.

 

 

 

 

 

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KENTUCKY WESTERN
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Klln\f\'r 3 35 335 Siuv\.u Ci't'ili\ v. iv{ul\..i\ go Cu., iaiu., \:i. tri'. OppO$ed 7/29/05 l\
LOUISIANA MIDDLE
LAM 3 05-331 Maylene T. Lofton v. Merck & Co., Inc.
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MARYLAND

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Kelly A. Alder, et ai. v. Mercl< &, Co., Inc.
Leroy F. Lusby v. Merck & Co., Inc. _ l \

Barbara C. Pcrsinger v. Merck & Co., Inc. -----
Kathleen Keating v. Merck§ Co,, Inc. _'
Jennette Fairchild v. Merck & Co., Inc. q
David W. Baker v. Merek & Co., Inc.

Robert J. Ashley v. Merck & Co., Inc. \
Carole Webb v. Merck & Co., Inc.

Lillian Bontrager v. Merck & Co., Inc.

Steve A. Olson v. Merck & Co., Inc.

Joyce Hammett v. Merck & Co., Inc.

Billy W‘ Stanaland v. Merck & Co., Inc.

Caroline E. Wisniewslci v. Merck & Co., lnc.

Mary R. Zimmer v. Merck & Co., Inc.

William Rosen v. Merck & Co., Inc.

Louise J. Ragatz v. Merck & Co., Inc.

Philip P. McGuire v. Merck & Co., Inc.

Colleen L. Lavine v. Merck & Co. Inc.

Rodney L. Coy v. Merck & Co., Inc.

Eiieen A. Feist v. Merck & Co., inc.

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DIST. ll}_’__. C.A. # CASE CAPTION
MN 0 05-1080 Deiores T, Ganje v. Mercl< & Co., Inc.
MN 0 05-1100 Jerald R. Gibson v. Merck & Co., Inc.
MN 0 05-1101 Francis J. Davis v. Merck & Co., lnc.
M`N 0 05-1’102 Susan Herrboldt v. Merck & Co., Inc.
MN 0 05-1103 Victor S. Sorenson v. Merck & Co., Inc.
MN 0 05-1104 Karen L. Casteliese v. Merck & Co., Inc.
MN 0 05-1105 Lorri S. Book v. Merck & Co., l-nc.
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MOE 4 05-836 Shirley Bailey, et al. v. Mercl< & Co., Inc., et al.
MOE 4 05-838 Charles Hagler et al v. Merck & Co., Inc. ,et al.
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MOE 4 05-848 Barbara Middleton, et al v. Mercl<&Co. ,Inc, et al.
MOE 4 05-866 Shirley Martin v. Merck & Co. Inc.
MOE' 4 05-867 A___Edna Stokes v. Merck & Co., Inc.
MOE 4 05-869 Dorothy Jackson v. Merck & Co., Inc.
MOE 4 05»878 l Earlene McBride, et al. v. Merck & Co., Inc., et al.
MGE ~'i» 35 3?9 ivi.x;ua vaim., vi ai. v. iv'imui\n uc. Cu. ,inc., ct_a'iT OppOSCCi 8/2/05
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MISSISSIPPI NORTHERN
MSN 3 05-58 Geraldine Guess, et al. vi Merck & Co., Inc.
MSN 3 05-67

f Cynthia S. Grammer v. Mercl< & Co., Inc.

NORTH CAROLINA WESTiERN
NCW l 05-222 Patricia Copeland, etc. v. Merck & Co., lnc.
NEW JERSEY
NJ 3 05-2525
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Phyllis Dirk, etc. v. Merck&Co., Inc
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Ratl-co Zenzerovic v Merck & Co., Inc.

 

 

 

 

 

 

 

 

NEW MEXICO
NM 1 05-592 Rose Jaramillo v, Merck & Co., Inc.
NM l 05-593 Julie R. lessen v. Merck & Co., Inc. l
NM l 05-595 Linda K. McGlinn v. Merck & Co., Inc.
NM 1 05-598 Frank Moya v. Merck & Co., Inc.
NM l 05-5 99 Anna Marie Rodriguez v. Mercl< & Co., Inc.
NM l 05-625 2 l ~`Matthew Carrasco v. Merck_ & Co., Inc. " mm
NM 2 "'05-594 _,., Christopher Wayne Carmickle v. Merck & Co., Inc.
NM 2 05-627 Cleo Paiz v. Mercl< & Co., Inc.
NM 2 05»633 Marie Martinez v. Merck & Co., lnc., et al.
N`M 6 05-596 l Michael Ely v. Merck & Co., Inc.
NM 6 05-626 1 Helen Keleher v. Merck & Co., Inc.
NM 6 05-637 Denise Gonzales v. Merck & Co., Inc., et al.

N'EVADA
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Midwest Operating Engineers Health & Welfa`re Fund v. Merck & Co., Inc.

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NYE 1 05-2446 Rosalie Garcia v. Merck & Co., Inc., et al.
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NEW YORK SOUTHERN

Johnny Dingle v. Merck & Co., lnc.
Andrew Montesanc) v. Merck & Co., lnc., et al.

Robert J. Nolan, et al. v. Men`:k & Co., Inc.
Cloteel J. Wade v. Merck & Co., Inc.

Connie T. White v. Merck & Co., lnc. \
George Varouh v. Merck & Co., 1110. ‘
Demetric)s Kollias v. Merck & Co., Inc.
Beverly Williarns v. Merck & Co., Inc.

Leroy Ornerza, et al. v. Merck & Co., Inc.

Luis F. Tadrzak v. Merck & Co., lnc.

David B. Fender v. Merck & Co., Inc.

Dorothy Wiley v. Merck & Co., Inc.

Keith L. Jones, et ai. v. Merck & Co., Inc.
Byron W. Iames, et al. v. Mcrck & Co., Inc.
Pamela S. Bentley, et al. v. Merck & Co., Inc.
Theodore J. Jenda, et al. v Merck & Co., Inc.
Andrew L. Bames, et al . v. Merck & Co., Inc.
Darrek N. Norris, et al. v. Merck & Co., Inc.
Donald L. Moiser, et a1. v. Merck & Co., lnc.
Ronald S. Barclay, et al. v. Merck &. Co., Inc.
Paul Muudo, Jr., et al. v. Merck & Co., lnc.
Charlene Hutchings, et al. v. Merck & Co., Inc.
Robert C. Myers, et al. v. Merck & Co,, lnc.
James 'I`russo, etc. v. Merck & Co., Inc.

Joseph Uclovic, etc. v. Merck & Co., Inc.
Pama1a S. Brewer v, Merck & Co.,~lnc.

gcharleSE.Réj/nolds,etal.v.Merck&Co.,lnc. ` ¢_ '*_*

Richard Pyne, et al. v. Merck & Co., Inc. ~"

Richard A. Carle, et al. v. Merck & Co., Inc.

Linda E. Rader, et a1. v Merck & Co., Inc. _ ` 1
Gerald'me H. Butler, et al. v. Merck & Co., Inc.

Jackie L. Redinbaugh, et al. v. Merc;k & Co., Inc.

Johanna N. Risner v. Merck & Co., lnc.

John E. Feltovich, et al. v. Merck & Co., Inc.

Richard E. Famsworth v. Merck & Co., Inc.

Estel C. Edwards, Sr. v. Merck & Co., Inc.

Mary lane Gould, et al. v. Merck & Co., Inc. \ \
Thomas Brant, et al. v. Merck & Co., Inc.

Elaine Pirtle, et al. v. Merck & Co., lnc.

Thomas Carroll, et al. v. Mer<:k & Co., Inc.

Jeanettc Danford, etc. v. Merck & Co., Inc.

Edna Gard.ner v. Merck & Co., Inc.

Byron Gi|roy, etc. v. Merck & Co., Inc.

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